
18-20 First Avenue Inc., Petitioner-Landlord-Appellant, 
againstGilberto Mendoza, Respondent-Tenant-Respondent, -and- "John Doe" and/or "Jane Doe," Respondents-Undertenants.



Landlord appeals from an order of the Civil Court of the City of New York, New York County (Michelle D. Schreiber, J.), entered February 28, 2017, granting tenant's motion for summary judgment dismissing the holdover petition and denying, as moot, landlord's cross motion for summary judgment.




Per Curiam.
Order (Michelle D. Schreiber, J.), entered February 28, 2017, affirmed, with $10 costs, for the reasons stated by Michelle D. Schreiber, J. at Civil Court. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur
Decision Date: October 26, 2017










